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                          CITY OF HOUSTON                                                            Sylvester Turner
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                                             July 15, 2021                                           Houston, Texas 77002

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   Via E-Filing

   The Hon. Vanessa D. Gilmore
   United States District Judge
   515 Rusk Street, Room 5300
   Houston, Texas 77002

   Re:        No. 4:19-cv-02236; Joe Richard “Trey” Pool, III, et al. v. City of Houston, et
              al.; in the United States District Court for the Southern District of Texas,
              Houston Division

   Dear Judge Gilmore:

         On July 6, 2021, Plaintiffs filed a purported “Notice of Status” regarding
   the City’s Amended Motion to Dismiss (“Amended Motion”). There is no
   provision in the Court’s local rules or the Federal Rules of Civil Procedure for
   such a presumptuous filing and Plaintiffs have failed to cite one.

        The City filed its Amended Motion to Dismiss, attachments,
   Memorandum in Support, and proposed order concurrently with its Motion to
   Exceed the Page Limit on May 25, 2021. All are reflected on the Court’s docket
   as Docs. 65-67. Its Memorandum in Support of its Amended Motion, however,
   was as misfiled as a second “Amended Motion” and so was refiled properly as
   a Memorandum in Support on May 26, 2021. It is reflected in the Court’s docket
   as Doc. 68.

         This Court granted the City’s Motion to Exceed the Page Limit on June
   15, 2021. Consequently, the City’s Amended Motion, attachments, proposed order, and


Council Members: Amy Peck Tarsha Jackson Abbie Kamin Carolyn Evans-Shabazz Dave Martin Tiffany Thomas Greg Travis Karla Cisneros
Robert Gallegos Edward Pollard Martha Castex-Tatum Mike Knox David W. Robinson Michael Kubosh Letitia Plummer Sallie Alcorn

Controller: Chris Brown
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supporting memorandum were deemed filed as of, at the latest, June 15, 2021. See, e.g.,
Sharps Compliance, Inc. v. United Parcel Serv., Inc., CIV.A.H-10-0300, 2010 WL
838859, at *1 (S.D. Tex. Mar. 5, 2010). Nothing in this Court’s local rules or the
Federal Rules of Civil Procedure requires that the same documents be refiled
after that date and Plaintiffs have not cited to any rule or order that would
require refiling identical documents.

      The Southern District of Texas Local Rules [LR7.3] provide that
“opposed motions will be submitted to the judge 21 days from filing without
notice from the clerk and without appearance by counsel.” LR7.4 further
provides that “failure to respond to a motion will be taken as a representation of
no opposition” and that such responses “must be filed by the submission day.”
The submission date for Houston’s motion was, therefore, July 6, 2021, the very day
Plaintiffs filed their improper “notice.” Under LR7.4, their “failure to respond
to a motion will be taken as a representation of no opposition.”

      The City should not be delayed in having its dispositive motion ruled upon
because Plaintiffs refuse to abide by well-known and widely-available applicable
law, rules of procedure, or local rules.

      The submission date for Houston’s Amended Motion to Dismiss having
long passed, the City asks that this Court rule as expeditiously as possible on its
pending motion, that was served on Plaintiffs nearly two months ago.

     Should the Court have any questions, please do not hesitate to contact me.
Thank you for your consideration in this matter.

                                              Respectfully submitted,


                                               /s/ Collyn A. Peddie
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cc: Jerad Najvar
    Austin M.B. Whatley
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